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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
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10     UNITED STA TES OF AMERICA,                           No. CR20- l 94-JLR

I1                              Plaintiff,
12                       V.                                 tJ'ltOP@~rnDt    <\_)Ji..
13                                                          ORDER OF FORFEITURE
       VICKI BOSER,
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15                            Defendant.
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18       THIS MATIER comes before the Court on the United States' Motion for Entry of
19 an Order of Forfeiture ("Motion" ) seeking to forfeit, to the United States, the Defendant
20 Vicki Boser's interest in the following property:

21           A sum of money in the amount of $166,313.85, reflecting proceeds the Defendant
             obtained from her commission of Wire Fraud, in violation of 18 U .S.C. § 1343.
22           The United States has agreed it will request the Attorney General apply any
23           amounts it collects toward satisfaction of this forfeited sum to the restitution that is
             ordered in this case. The United States has also agreed that any amount the
24           Defendant pays toward restitution will be credited against this forfeited sum.
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          The Court, having reviewed the United States' Motion, as well as the other papers
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     and pleadings filed in this matter, hereby FINDS entry of an Order of Forfeiture is
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     appropriate because:
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                                                                              UNITED STATES i\TroRNEY
      Order of Forfeiture - I                                                700 STFWART STREET, SUITE 5220
      United States v. Vicki Boser. CR20- I94-J LR                            S~ATTLE, WASHINGTON 98101
                                                                                     (206)553-7970
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             •     The proceeds of Wire Fraud, in violation of I 8 U.S.C. § I 343, are forfeitable
 2                 pursuant to 18 U.S.C. § 981(a)(l)(C), by way of28 U.S.C. § 2461(c);
 3           •     In her plea agreement, the Defendant agreed to forfeit the above-identified sum
 4                 of money pursuant to 18 U.S.C. § 98l(a)(l)(C), by way of28 U.S.C.
 5                 § 2461 (c), as it reflects proceeds she obtained as a result of the offense (Dkt.
 6                 No. 22, ~ 13); and,
 7           •     This sum of money is personal to the Defendant; pursuant to Federal Rule of
 8                 Criminal Procedure ("Fed. R. Crim. P.'") 32.2(c)(I), no third-party ancillary
 9                 process is required before forfeiting it.
10
             NOW, THEREFORE, THE COURT ORDERS:
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              I)       Pursuant to 18 U.S.C. § 981(a)(l)(C), by way of28 U.S.C. § 2461(c), and
12
     her plea agreement, the Defendant' s interest in the above-identified sum of money is fully
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     and finally forfeited, in its entirety, to the United States;
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             2)        Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) - (B), this Order will become
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     final as to the Defendant at the time she is sentenced; it will be made part of the sentence;
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     and, it will be included in the judgment;
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             3)        No right, title, or interest in the identified sum of money exists in any party
18
     other than the United States;
19
             4)        Pursuant to Fed. R. Crim. P. 32.2(e), in order to satisfy this sum of money,
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     in whole or in part, the United States may move to amend this Order, at any time, to
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     include substitute prope1ty having a value not to exceed this sum of money; and,
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                                                                                UNITED ST ATES A'TTORNEY
      Order of Forfeiture - 2                                                  700 STEWART STREET, SUITE 5220
      Uniled S1a1es ,._ I'icki Boser, CR20- I 94-JLR                            SEATTLE, WASHINGTON 98 101
                                                                                       (206) 553-7970
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            5)       The Court will retain jurisdiction in this case for the purpose of enforcing

 2 this Order, as necessary.
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 4          IT IS SO ORDERED.

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            DATED this         3C       day of November, 202 l.
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 9                                                   THE HON. AMES L. ROBART
IO                                                   UNITED S A TES DISTRICT JUDGE

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     Presented by:
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     Order of Forfeiture - 3                                                700 STEWART STREET, SUITE 5220
     United States v. l'icki Boser. CR20- I 94-JLR                           SEAnLE, WASHINGTON 98 101
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